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                    EXHIBIT A
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref. Nos. 4814, 4816, 9427, 9432, 9463, 9468,
                                                             9473, 9475, 9497, 9504, 9517, 9539, 9540, 9543,
                                                             9545, 9550, 9555 & 16172

         FIFTH OMNIBUS ORDER APPROVING INTERIM FEE APPLICATIONS

         Upon consideration of the interim fee applications of the professionals retained by the

above captioned debtors and debtors-in-possession (collectively, the “Debtors”), the Official

Committee of Unsecured Creditors (the “Committee”), the Ad Hoc Committee of Non-US

Customers of FTX.com (the “Ad Hoc Committee”), and the fee examiner (the “Fee Examiner”)

in the above-captioned chapter 11 cases (collectively, the “Professionals”), 2 a list of which is
                                                                                           1F




attached hereto as Exhibit 1 (collectively, the “Fee Applications”), for allowance of

compensation and reimbursement of expenses for the period set forth on each of the Fee

Applications filed pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [D.I. 435] and the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834]; and upon the Fee Examiner’s Summary Report on

Fee Review Process and Fifth Interim Fee Applications [D.I. 16172]; and it appearing to the

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Fee
    Applications.

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Court that all of the requirements, as applicable, of sections 327, 328, 330, 331 and 503(b) of

title 11 of the United States Code (as amended or modified, the “Bankruptcy Code”), as well as

rule 2016 of the Federal Rules of Bankruptcy Procedure and rule 2016-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, have been satisfied; and it further appearing that the expenses incurred were

reasonable and necessary; and that notices of the Fee Applications were appropriate; and after

due deliberation and sufficient good cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.     The Fee Applications are hereby APPROVED in the amounts set forth on

Exhibit 1 attached hereto.

                  2.     The Fee Applications are granted on an interim basis in the respective

amounts set forth as approved on Exhibit 1 hereto, including any and all holdbacks.

                  3.     The Debtors are authorized to remit payment to each of the Professionals

in the amounts set forth on Exhibit 1, less any monies previously paid on account of such fees

and expenses.

                  4.     All fees and expenses allowed herein shall be subject to final allowance by

the Court without regard to whether such amounts have been paid to the Professionals.

                  5.     This Order shall be deemed a separate order with respect to each of the

Fee Applications.       Any stay of this Order pending appeal with respect to any one of the

Professionals shall only apply to the particular Professional that is subject to such appeal and

shall not operate to stay the applicability and/or finality of this Order with respect to any other of

the Professionals.

                  6.     This Court shall retain jurisdiction to hear and determine any and all



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matters arising from or related to the interpretation or implementation of this Order.

Date: June ________, 2024
     Wilmington, Delaware

                                              THE HONORABLE JOHN T. DORSEY
                                              UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT 1




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                                                                    FTX TRADING LTD., ET AL.
                                                                       Case No. 22-11068 (JTD)
                                                                Summary Chart of Interim Fee Applications

                                                  Interim                                    Fee                                  Fee
                                               Compensation             Interim          Examiner’s           Interim         Examiner’s                               Interim
               Professional                                                                                                                       Interim Fees
                                                 Period &                 Fees          Recommended          Expenses        Recommended                              Expenses
              & Role in Case                                                                                                                       Approved
                                                Interim Fee            Requested             Fee             Requested         Expense                                Approved
                                                Application                              Adjustments                          Adjustments
                                              11/1/23 –
    Sullivan & Cromwell LLP
                                              1/31/24
    Counsel to the Debtors and Debtors-                             $31,584,104.90       $530,000.00 1       $44,908.55         $4,069.70        $31,054,104.90       $40,838.85
                                              D.I. 9504
    In- Possession
                                              Filed 3/15/24

                                              11/1/23 –
    Landis Rath & Cobb LLP
                                              1/31/24
    Co-Counsel to the Debtors and                                    $1,286,387.50         $17,391.75        $23,638.46          $10.97          $1,268,995.75        $23,627.49
                                              D.I. 9545
    Debtors-In- Possession
                                              Filed 3/15/24

                                              11/1/23 –
    Perella Weinberg Partners LP 2
                                              1/31/24
    Investment Banker to the Debtors                                 $4,125,941.84            N/A            $72,755.57            N/A           $4,125,941.84        $72,755.57
                                              D.I. 9540
    and Debtors-In- Possession
                                              Filed 3/15/24

    Alvarez & Marsal North America            11/1/23 –
    LLC                                       1/31/24
                                                                    $36,066,943.30 $350,000.00 3            $777,055.66        $25,000.00        $35,716,943.30      $752,055.66
    Financial Advisors to the Debtors         D.I. 9517
    and Debtors-In- Possession                Filed 3/15/24



1
      Pursuant to the Fee Examiner’s Summary Report on Fee Review Process and Fifth Interim Fee Applications [D.I. 16172] (the “Fee Examiner Report”), Sullivan & Cromwell
      LLP has agreed to a 20 percent holdback, equal to $110,803.90, for fees incurred for its work responding to the security breach perpetrated on the Debtors’ claims and noticing
      agent (the “Holdback”). The Holdback has been incorporated into the recommended fee adjustment listed herein. As explained in the Fee Examiner Report, the Fee Examiner
      anticipates that the Holdback will be released—in full or in part—once the Debtors have been made whole.
2
      Pursuant to paragraph 3(iv) of the Fee Examiner Order, flat-fee professionals are not subject to Fee Examiner review and, as such, Perella Weinberg Partners LP’s fees and
      expenses were not subject to review by the Fee Examiner.
3
      Pursuant to the Fee Examiner’s Summary Report on Fee Review Process and Fifth Interim Fee Applications [D.I. 16172] (the “Fee Examiner Report”), Alvarez & Marsal North
      America LLC has agreed to a 20 percent holdback, equal to $29,725.00, for fees incurred for its work responding to the security breach perpetrated on the Debtors’ claims and
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                                                                       Case No. 22-11068 (JTD)
                                                                Summary Chart of Interim Fee Applications

                                                  Interim                                    Fee                                 Fee
                                               Compensation            Interim           Examiner’s          Interim         Examiner’s                          Interim
               Professional                                                                                                                     Interim Fees
                                                 Period &                Fees           Recommended         Expenses        Recommended                         Expenses
              & Role in Case                                                                                                                     Approved
                                                Interim Fee           Requested              Fee            Requested         Expense                           Approved
                                                Application                              Adjustments                         Adjustments

    AlixPartners, LLP                         11/1/23 –
    Forensic Investigation Consultant to      1/31/24
                                                                     $8,496,064.00       $186,986.38        $77,680.61        $24,198.69        $8,309,077.62   $53,481.92
    the Chapter 11 Debtors and                D.I. 9539
    Debtors-In-Possession                     Filed 3/15/24


    Quinn Emanuel Urquhart &                  11/1/23 –
    Sullivan, LLP                             1/31/24
                                                                     $7,550,521.65       $125,000.00        $13,053.32         $1,109.25        $7,425,521.65   $11,944.07
    Special Counsel to the Debtors and        D.I. 9543
    Debtors-In-Possession                     Filed 3/15/24

                                              8/1/23 –
    Paul Hastings LLP
                                              10/31/23
    Counsel to the Official Committee of                             $9,565,274.25       $325,000.00 4      $298,738.59          $0.00          $9,240,274.25   $298,738.59
                                              D.I. 4814, 4816
    Unsecured Creditors
                                              Filed 12/15/23

    Young Conaway Stargatt &                  11/1/23 –
    Taylor, LLP                               1/31/24
                                                                      $263,627.50         $14,609.25          $763.55            $0.00          $249,018.25      $763.55
    Co-Counsel for the Official               D.I. 9463, 9468
    Committee of Unsecured Creditors          Filed 3/15/24




      noticing agent (the “Holdback”). The Holdback has been incorporated into the recommended fee adjustment listed herein. As explained in the Fee Examiner Report, the Fee
      Examiner anticipates that the Holdback will be released—in full or in part—once the Debtors have been made whole.
4
      The recommended fee adjustment is partially attributable to the agreed resolution of Second, Third, and Fourth Interim Reserved Issues.
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                                                                    FTX TRADING LTD., ET AL.
                                                                       Case No. 22-11068 (JTD)
                                                                Summary Chart of Interim Fee Applications

                                                  Interim                                    Fee                                  Fee
                                               Compensation             Interim          Examiner’s           Interim         Examiner’s                             Interim
               Professional                                                                                                                       Interim Fees
                                                 Period &                 Fees          Recommended          Expenses        Recommended                            Expenses
              & Role in Case                                                                                                                       Approved
                                                Interim Fee            Requested             Fee             Requested         Expense                              Approved
                                                Application                              Adjustments                          Adjustments
                                              11/1/23 –
    FTI Consulting, Inc. 5
                                              1/31/24
    Financial Advisor to the Official                                $6,205,426.00        $345,221.60        $8,057.91            $0.00          $5,860,204.40      $8,057.91
                                              D.I. 9463, 9473
    Committee of Unsecured Creditors
                                              Filed 3/15/24

                                              11/1/23 –
    Jefferies LLC6
                                              1/31/24
    Investment Banker for the Official                                $675,000.00              N/A           $12,133.37            N/A            $675,000.00       $12,133.37
                                              D.I. 9463, 9475
    Committee of Unsecured Creditors
                                              Filed 3/15/24

    Eversheds Sutherland (US) LLP             11/1/23 –
    Lead Counsel for the Ad Hoc               1/31/24
                                                                     $1,276,656.50         $58,820.12           $0.00             $0.00          $1,217,836.38         $0.00
    Committee of Non-US Customers of          D.I. 9555
    FTX.com                                   Filed 3/15/24


    Morris, Nichols, Arsht & Tunnell
                                              11/1/23 –
    LLP
                                              1/31/24
    Co-Counsel to the Ad Hoc                                          $530,595.00            $4,313.55       $2,533.50            $0.00           $526,281.45       $2,533.50
                                              D.I. 9550
    Committee of Non-US Customers of
                                              Filed 3/15/24
    FTX.com




5
      The recommended fee adjustment is partially attributable to the agreed resolution of First, Second, Third and Fourth Interim Reserved Issues.
6
      Pursuant to paragraph 3(iv) of the Fee Examiner Order, flat-fee professionals are not subject to Fee Examiner review and, as such, Jefferies LLC’s fees and expenses were not
      subject to review by the Fee Examiner.
{1368.002-W0076080.4}                                                                    3
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                                                                    FTX TRADING LTD., ET AL.
                                                                       Case No. 22-11068 (JTD)
                                                                Summary Chart of Interim Fee Applications

                                                  Interim                                    Fee                                 Fee
                                               Compensation            Interim           Examiner’s          Interim         Examiner’s                               Interim
               Professional                                                                                                                      Interim Fees
                                                 Period &                Fees           Recommended         Expenses        Recommended                              Expenses
              & Role in Case                                                                                                                      Approved
                                                Interim Fee           Requested              Fee            Requested         Expense                                Approved
                                                Application                              Adjustments                         Adjustments

    Rothschild & Co US Inc. 7                 11/1/23 –
    Investment Banker to the Executive        1/31/24
                                                                      $525,000.00              N/A          $16,181.54            N/A             $525,000.00        $16,181.54
    Committee of the Ad Hoc Committee         D.I. 9497
    of Non-U.S. Customers of FTX.com          Filed 3/15/24


    Kroll Restructuring                       12/1/22 –
    Administration LLC                        1/31/24
                                                                      $30,215.00             $2,121.99         $0.00             $0.00            $28,093.01            $0.00
    Administrative Advisor to the             D.I. 9432
    Debtors                                   Filed 3/15/24

                                              11/1/23 –
    Katherine Stadler and Godfrey &
                                              1/31/24
    Kahn, S.C.                                                        $546,066.50              N/A           $5,874.75            N/A             $546,066.50        $5,874.75
                                              D.I. 9427
    Fee Examiner and Counsel
                                              Filed 3/15/24




7
      Pursuant to paragraph 3(iv) of the Fee Examiner Order, flat-fee professionals are not subject to Fee Examiner review and, as such, Rothschild & Co US Inc.’s fees and expenses
      were not subject to review by the Fee Examiner.
{1368.002-W0076080.4}                                                                    4
